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UN|TED STATES DlSTR|CT COURT
M|DDLE DlSTR|CT OF FLCR|DA
JACKSONV|LLE D|VlSlON

W|NN-D|X|E STORES, |NC. and Bl-LO
HOLD|NGS, LLC,
Plaintiffs,
v. Case No. 3:15-cv-1143-J-39PDB
SOUTHEAST M|LK, |NC., et al.,

Defendants.
/

SECOND AMENDED
CASE MANAGEMENT AND SCHEDUL|NG ORDER

The parties having submitted their Joint Case l\/lanagement Report (Doc. 104),
pursuant to the Court’s order, it is hereby

ORDERED:

1. The Cierk of the Court is DlRECTED to reopen this case.

2. The following deadlines and settings shall apply:

Service of Expert Reports Plaintiff: December18, 2017
~ Defendant: February 12, 2018

Discovery Deadline: March 19, 2018

Dispositive and Dauben‘ l\/lotions Deadline: April 23, 2018

(Response to dispositive motions due 21 days

after service unless otherwise ordered)

Conduot l\/lediation hearing by: April 2, 2018

l\/lediator: Terrence M. White, Esq.

125 S. Pa|metl:o Avenue
Daytona Beach, FL 32114
(800) 264-2622

Motions l_n Limine: August 8, 2018

 

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Responses to Motions l_n Limine: August15, 2018

All other Motions: August 15, 2018

Fi|ing of Pretrial Statement: August 15, 2018

Final Pretrial Conference: August 22, 2018
10:00 AM
Courtroom 12C

Trial Term Begins: ` September 4, 2018
9:00 A.M.

Courtroom 120
(Jury - 15 days)

3. With respect to discovery matters, the date set forth above is the jn_a_l date
discovery shall be completedl All requests and motions pertaining to discovery shall be
filed promptly so that the discovery desired will be due M[ to the completion date.
Specifically, motions to compel brought pursuant to Rule 37 must be filed no later than
the close of discovery. The parties should be aware that a stipulation to the continuance
of discovery anticipates no discovery disputes Therefore, this Court will not hear
discovery disputes arising during the stipulated continuance The parties are further
advised that any extension of discovery will not result in an extension of the dispositive
motion filing deadline or other pretrial or trial dates except upon order of the Court. lf
promptly raised, the deadline for amending pleadings is subject to extension based on
new discovery or other good cause.

4. The parties are reminded of their obligation to comply with the redaction
requirements set forth in Fed.R.Civ.P. 5.2.

5. Pursuant to Local Rule 3.01(a), any motion and memorandum in support
must be in a single document not to exceed 25 pages absent leave of Court. Responses
to motions may not exceed 20 pages absent leave of Court. ln summary judgment

practice, the combined motion and memorandum (inc|uding any "Statement of

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Undisputed Facts") must be filed as one document and may not exceed 25 pages without
permission of the Court. Please deliver a courtesy copy of all dispositive and Dauberf
motions and responses, including copies of all relevant exhibits and depositions to the

chambers of the undersigned

 

6. Except as otherwise ordered, the parties are directed to meet the pretrial
disclosure requirements in Fed.R.Civ.P. 26(a)(3) and to timely adhere to all requirements
in Local Rule 3.06 concerning Final Pretrial Procedures. While counsel for the Plaintiff
shall be responsible for initiating the pretrial compliance process, all parties are
responsible for assuring its timely completion.

7. A pretrial statement in compliance with Local Rule 3.06 shall be filed with
the Cierk on or before the date noted in this Order with two courtesy copies to be provided
to the Court. The parties are required to identify the depositions to be read at trial in the
pretrial statement but are n_ot required to designate the pages of depositions to be read
at trial until a date to be established by the Court at the final pretrial conference

8. The final pretrial conference and trial will be held in Courtroom 120, 12th
Floor, United States Courthouse, 300 North Hogan Street, Jacksonvi||e, Florida. The
pretrial conference shall be attended by counsel who will act as lead counsel and who
are vested with full authority to make and solicit disclosures and agreements touching on
all matters pertaining to the trial. Arguments on Motions l_n M, if allowed, will be
heard at the Final Pretrial Conference.

9. Unless otherwise ordered by the Court, no later than five days before the
trial term set forth above, the parties shall file with the Cierk of Court the following (B,
as to each of the following, provide directly to Chambers, Suite 11-400, by mail or hand

delivery two (2) copies marked “Judge’s Chambers Copy”):

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(a) Each side shall file a Trial Brief, with citations of authorities and arguments
specifically addressing all significant disputed issues of law likely to arise at
trial: _a__rlc_| either (b) or (c) below, as appropriate.

(b) If case is a jury trial, the following:

(1) A concise (one paragraph preferably) joint or stipulated statement of
the nature of the action to be used solely for purpose of providing a
basic explanation of the case to the jury venire at the commencement
of jury selection process:

(2) Proposed Voir Dire (the Court will conduct the jury voir dire and, in
addition to the usual more general questions, will, without initiation by
counse|, ask more particular questions suggested by the nature of the
case; counsel should, therefore, be selective in the jury questions
submitted to the Court for consideration); and

(3) A Proposed Verdict Form and complete set of all written Proposed
Jury lnstructions. (The Court will expect counsel to give their best
efforts, cooperatively, in the production of a joint set of instructions and
verdict form, the format of which the Court will discuss at the pretrial
conference.)

 

(c) lf case is a non-iurv trial. Proposed Findings of Fact and Conclusions of
Law (each shall be separately stated in numbered paragraphs; Findings of
Fact shall contain a detailed listing of the relevant material facts the party
intends to prove, in a simple, narrative form; Conclusions of Law shall contain
a full exposition of the legal theories relied upon by counsel).

10. The parties are advised (and should advise their witnesses) that photo
identification is required to enter the United States Courthouse. Although cell phones,
|aptop computers, and similar electronic devices generally are not permitted in the
building, attorneys may bring those items with them upon presentation to Court Security

Officers of proof of membership in The Florida Bar or an Order of special admission pro

hac vice.1

 

1 Ce|l phones must be turned off while in the courtroom.

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11. ln the event that the dates set herein for final pretrial conference and/or trial
are continued or otherwise modified, the remaining provisions of this Order shall remain
in full force and effect.

12, THE COURT HAS DONE EVERYTH|NG POSS|BLE TO SET
APPROPR|ATE DEADL|NES FOR THlS CASE. THE PARTlES SHOULD PROCEED
ACCORDINGLY. DO NOT ASSUME THAT THE COURT W|LL EXTEND THESE
DEADL|NES.

MED|AT|ON ORDER

This case is referred to the mediator listed above pursuant to Chapter Nine of the
Local Rules. Counsel for Plaintiff is designated as lead counsel to be responsible for
coordinating a mutually agreeable mediation date and for filing a notice advising the Court
of the date selected for mediation. lf Plaintiff is proceeding pr_o_ s_e, counsel for Defendant
shall undertake the responsibility for coordinating a mutually agreeable mediation date
and for filing the notice. The mediation conference shall be completed by the date set
forth above. Absent agreement otherwise by the parties or order of the Court, the cost of
the mediator’s services shall be borne equally by the parties

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DONE and ORDERED in Jacksonville, Florida this §§ day of June, 2017.

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BRlAN J. DAvls
United States District Judge

Copies furnished to:
All counsel of record

unrepresented parties (if any)
l\/lediator

ap

